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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No.   2:11-cr-119 WBS
13                  Plaintiff,

14        v.                                 ORDER
15   CAROLYN HUERTA,

16                  Defendant.

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18                                ----oo0oo----

19             On December 16, 2015, this court granted defendant’s

20   motion for a reduction of sentence pursuant to 18 U.S.C. §

21   3582(c)(2).    (Docket No. 235).    Pursuant to the stipulation

22   between the United States Attorney and defense counsel, because

23   defendant’s sentence was subject to a mandatory minimum of 120

24   months, the court reduced her original sentence of 121 months to

25   120 months.    (Docket No. 234).

26             Presently before the court is defendant’s motion for

27   unspecified relief in which she apparently contests her role in

28   the offense.    Because defendant is still subject to the statutory
                                         1
      Case 2:11-cr-00119-WBS Document 285 Filed 02/02/17 Page 2 of 2


1    minimum mandatory sentence which she is serving, her role in the

2    offense is of no consequence.

3              IT IS THEREFORE ORDERED that defendant’s motion (Docket

4    No. 267) be, and the same hereby is, DENIED.

5    Dated:   February 2, 2017

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